Case 20-14707-pmm         Doc 32    Filed 07/06/21 Entered 07/06/21 13:31:23             Desc Main
                                    Document Page 1 of 2



                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                READING DIVISION

 In re:
                                                            Bankruptcy No. 20-14707-pmm
 Grace A. Greer,
                                                            Chapter 13
           Debtor
 Wilmington Savings Fund Society, FSB, d/b/a
 Christiana Trust, not individually but as trustee for
 Pretium Mortgage Acquisition Trust,

          Movant
 v.
 Grace A. Greer,
           Debtor/Respondent
 SCOTT F. WATERMAN, Esquire
          Trustee/Respondent




                                      ORDER OF COURT

          AND NOW, this 6th      day of July , 2021, upon consideration of Wilmington Savings

Fund Society, FSB, d/b/a Christiana Trust, not individually but as trustee for Pretium Mortgage

Acquisition Trust’s Motion for Relief from Automatic Stay, pursuant to 11 U.S.C. § 362(d) and

11 U.S.C. § 1301, any response thereto and that it is not necessary for an effective reorganization,

it is hereby

          ORDERED, that the automatic stay provisions of Section 362 of the Bankruptcy Code are

hereby unconditionally terminated with respect to Wilmington Savings Fund Society, FSB, d/b/a

Christiana Trust, not individually but as trustee for Pretium Mortgage Acquisition Trust; and it is

further




                                                                                         20-14707-pmm
                                                                                             21-062533
                                                                                                  MFR
Case 20-14707-pmm          Doc 32     Filed 07/06/21 Entered 07/06/21 13:31:23          Desc Main
                                      Document Page 2 of 2



        ORDERED, that Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust, not

individually but as trustee for Pretium Mortgage Acquisition Trust, its successors and/or

assignees be entitled to proceed with appropriate state court remedies against the property located

at 4807 Wentzel Avenue, Temple, Pennsylvania 19560, including without limitation a sheriff’s

sale of the property, and it is further

        ORDERED that Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust, not

individually but as trustee for Pretium Mortgage Acquisition Trust’s request to waive the 14-day

stay period pursuant to Fed.R.Bankr.P. 4001(a)(3) is granted.



                                                            BY THE COURT



                                                            ______________________________
  Date: July 6, 2021                                        Hon. Patricia M. Mayer
                                                            U.S. Bankruptcy Court Judge




                                                                                        20-14707-pmm
                                                                                            21-062533
                                                                                                 MFR
